 

 

 

Case: 1:19-cv-02818-DCN Doc #: 59 Filed: 07/14/20 1 of 1. PagelD #: 1128

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

MAGNESIUM MACHINE, LLC, et al., ) CASENO. 1:19 CV 2818
)
Plaintiffs, )
)
V. ) JUDGE DONALD C. NUGENT
)
TERVES LLC, et al., )
) JUDGMENT ORDER
Defendants. )
)

For the reasons set forth in this Court’s Memorandum Opinion and Order, the Court finds
that Terves, LLC’s Motion to Dismiss Complaint Under Rule 12(b)(6) (ECF #42, 45), and the
Motion to Dismiss on Behalf of McDonald Hopkins, (ECF #41, 45), should be GRANTED. This

case is DISMISSED. Costs to be paid by the Plaintiff. IT IS SO ORDERED.

 

 

 

 

 

 
